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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                         Plaintiffs,

          vs.                                                No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                         Defendant.


                     DEFENDANT GOOGLE LLC’S MOTION TO SEAL

         Pursuant to Local Civil Rule 5(C), Defendant Google LLC (“Google”), through its

  undersigned counsel, hereby respectfully moves this Court to seal portions of its Motion in limine

  to Exclude Non-Party Lay Opinions Regarding Google’s Alleged Monopoly or Anticompetitive

  Conduct, and to seal portions of exhibits C, E–H, M attached thereto. Consistent with the local

  rule and this Court’s Electronic Case Filing Policies and Procedures, undersigned counsel have

  filed the materials at issue using the sealed filing event on CM/ECF and hereby certify that they

  will serve a copy on opposing counsel and deliver a copy to this Court in a separate container

  labeled “UNDER SEAL.” The grounds for this motion are contained in the memorandum of law

  concurrently filed in support of this motion. A proposed order is attached for the Court’s

  convenience.




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   Dated: August 16, 2024               Respectfully submitted,


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